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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Reyna Arroyo
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−01148
                                                         Honorable Gary Feinerman
City of Chicago Police Dept.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 22, 2022:


        MINUTE entry before the Honorable Jeffrey Cummings: The Court has reviewed
the parties' joint status report [60]. The parties anticipate taking approximately eight
depositions. The parties shall work diligently and cooperatively to schedule those
depositions on mutually agreeable dates in advance of the 2/26/23 fact discovery deadline.
By 11/9/22, the parties shall file a joint status report setting forth what additional
discovery has been completed, what discovery remains, (including the schedule for any
remaining depositions), and whether any discovery disputes require the Court's attention.
The parties are reminded that they may contact this Court's courtroom deputy if at anytime
the become mutually interested in scheduling a settlement conference with the Court.
Mailed notice (cc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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